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APPENDIX 11
State of California Califomia Department of Corrections and Rehabiligation

To

Subject

COC 1617 (3/89)

Memorandum p ef

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June 16, 2008 Bee ss lao
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John Hagar, Chief of Staff fo ° ut r / a
California Prison Health Care Receivership (Db 4

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Yulanda Mynhier, Director (A) ’ w ge we jo

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Plata Field Support Division 4 ve 8 Lo) ON" oo he
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HEALTH CARE APPEALS PROCESS- rv a ~ of
REQUEST FOR APPROVAL OF CONCEPT . ox\ P x Xt
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Objective 4.2.2 of the Receiver’s Strategic Plan states: (Y ? A aol?

Convene a task force of stake holders to conduct a system-wide analysis of the statewide
appeals process and recommend improvements to the Receiver.

To achieve this objective a plan of action was developed to establish a new streamlined
appeals process that would be efficient, responsive and effective in achieving rapid solutions.
The plan of action was initiated and included: 1) Conducting a statewide analysis of the
current appeals process, 2) conducting stakeholder. meetings, 3) drafting new policies and
procedures, and 4) developing a new process map that outlined the proposed Health Care
Appeals, Correspondence and Patient Advocacy (HCACPA) Program.

A statewide analysis of the current appeals process was completed and a series of four
stakeholder meetings were conducted. Participants in the stakeholder meetings included
representatives from the Prison Law Office, Rosen, Bien, and Galvan, Inmate Appeals
Branch (IAB), Office of the Attorney General, Office of Court Compliance, Office of Legal
Affairs, Division of Correctional Health Care Services (Perez and Coleman representatives),
Kristina Hector, Teresa Reagle, Dwight Winslow, Jackie Clark, Controlled Correspondence
and Litigation Management Unit (CCLMU) managers, and Regional Health Care Appeal
Analysts (RHCAA).

During the stakeholder meetings participants were given the opportunity to identify
problematic issues associated with the current appeals process. Participants identified the
following issues:

Appeals processed outside of designated time constraints.
Patient/prisoner due process rights violations.
Final approval of health care appeal responses are determined by non-health care
staff, resulting in a higher risk of litigation and inappropriate patient/prisoner health
care.

e Health care appeal issues inappropriately “screened out” by the Institutional Appeals
Coordinator (IAC), thereby, effectively denying the patient/prisoner appropriate
access to health care and increasing the risk of litigation.
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e Duplicative efforts by the HCAC and JAC related to tracking, copying, reviewing,
etc,

« Non-compliance with the Armstrong Remedial Plan.

Stakeholders were also given the opportunity to provide suggestions regarding the new
proposed appeals process. Additionally, representatives from the Plata Field Support
Division and IAB conducted a focus group to examine and discuss the new proposed appeals
process, The focus group included representatives from several institutions and consisted of
HCACs, IACs, RHCAA’s, a Correctional Health Services Administrator, and an Associate
Warden-Health Care. .

RECOMMENDATIONS

As a result of the stakeholder and focus group meetings, the recommended revisions to the
current health care appeals process are as follows:

e Eliminate the Informal level of appeal which is an ineffective and a non-productive
portion of the overall appeal process. This will reduce the workload and allow staff
the appropriate amount of time to investigate and respond to health care related
issues. All appeals will be submitted at the Formal level of appeal.

e Designate a Health Care Appeals Registered Nurse (HCARN) to review each health

_ care appeal and correspondence for the purpose of identifying and responding to
urgent/emergent health care issues.

« Establish a Patient Advocate Liaison (PAL) Open Line to precipitate face-to-face
communication between health care staff and patient/prisoners to directly and
informally resolve patient/prisoner health care issues in a responsive and. timely
manner.
> A PAL pilot program was conducted at the Wasco State Prison (WSP) and the

California State Prison—Sacramento (SAC) during 2007. SAC reported a 30
percent decrease in appeals received during the first month of the pilot. WSP
reported no substantial decrease in the number of appeals received, but stated the
PAL was responsible for appeals not increasing at WSP. Both institutions stated
that the PAL provided patient/prisoners with a valuable program to expeditiously
resolve patient/prisoner health care related issues,

e Establish a Correspondence program to resolve problematic patient/prisoner health
care issues that do not meet the appeal processing criteria, to address correspondence
submitted from entities other than patient/prisoners related to patient/prisoner health
care concerns and to resolve health care related issues submitted by patient/prisoner
that may be unable to access the PAL (i.e.: Administrative Segregation status, Out to
Court status, etc.,)

*® Designate the IAC as the responsible coordinator for all CDC 1824 (ADA) appeals.
Eliminate the HCAC and health care staff from the CDC 1824 process except for
disability evaluations, medical evaluations and treatment related to ADA appeals, and
providing the outcome of the evaluations to the IAC.
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NOTE: _ The Plata Field Support Division is currently working with the Custody Support
Services Team to determine whether or not it is feasible and in the best interests of all parties
to assume responsibility of ADA appeals. During the initial meeting, it was determined that
additional research must be conducted before a recommendation could be made.

PILOT PROGRAM

It is further recommended that the above revisions to the statewide appeals process be
implemented on a pilot basis at four institutions. The purpose of the pilot is to assess the
impact of the program on staff workload, to ascertain the number of projected staff positions
needed for the HCACPA program on a statewide basis, to determine if a centralized
HCACPA program is feasible and/or viable, to ascertain the affect of the PAL and
correspondence component as related to appeals, and to identify any problematic issues
before statewide implementation. Additionally, all institution health care appeals staff will
report directly to headquarters via the Plata Field Support Division, Litigation Management
Unit, Health Care Appeals Field Support Section. The following institutions have been
identified and are recommended for the pilot: Central California Women’s Facility (CCWF),
Mule Creek State Prison (MCSP), Pelican Bay State Prison (PBSP), and the California State
Prison-San Quentin (SQ),

Current staffing levels for the health care appeals program at each institution is generally
based on the volume of health care appeals received. Given that the proposed HCACPA
program has multiple components, and will impact staff workloads, it is anticipated that
additional staffing will be required. The following matrix identifies the reported number of
appeals received in 2007 at each recommended pilot institution, the current staffing for the
Health Care Appeals Offices at the proposed pilot institutions, and the recommended
additional staffing positions requested for the pilot institutions.

Institution Appeals Current Staffing Recommended Additional
Received Staffing
2007
SQ* 6274 / Registered Nurse Registered Nurse
522 per month | Staff Services Analyst Health Program Specialist I
Office Technician Office Technician
CCWF** 4881 / Associate Governmental Registered Nurse
407 per month | Program Analyst Health Program Specialist I
Staff Services Analyst** Office Technician
Office Technician
MCSP 3440 / Staff Services Analyst Registered Nurse
287 per month | Office Technician Health Program Specialist I
Office Technician
PBSP 2143 / Correctional Counselor II Registered Nurse
179 per month | Staff Services Analyst Office Technician
Office Technician

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*A RN, SSA, and OT are currently assigned to the Health Care Appeals Office at SQ and an
additional RN staff is intermittently assigned to respond to appeal and correspondence issues
as needed. However, it is recommended that another RN, HPSI, and OT position be
established due to a continuing backlog of overdue appeals, the large volume of appeals
processed, and the expectation of additional workload due to the PAL and correspondence
component of the HCACPA program.

**CCWF currently has an SSA, temporarily reassigned from another department, assisting in
the Health Care Appeals Office.

REQUIRED AMENDMENTS TO THE CALIFORNIA CODE OF REGULATIONS

The proposed recommendations for the HCACPA program’s health care appeals component
shifts the majority of responsibility, as related to health care appeals, from the JAC to the
HCAC. As such, amendments to the California Code of Regulations (CCR), Title 15, and
the Departmental Operations Manual (DOM) will be required for the following regulations:

e CCR Section 3084.3-Appeals coordinator. Each institution head or parole region
administrator shall designate an appeals coordinator, at a staff position level no less
than correctional counselor II or parole agent II, who shall prior to acceptance for
review screen and categorize each appeal originating in their area for compliance with
these regulations and shall coordinate the processing of appeals.

e DOM Section 54100.3-Each Warden or RPA shall implement the appeal procedure
and shall ensure it operates with specified policies as set forth herein. At least one
staff member, at no less than a CC-II, shall be designated as the appeals coordinator
in each institution; and in paroles, one staff member of not less than PA-II shall be
designated as the appeals coordinator in each parole region.

> It should be noted that CCR Section 3084.2(b) states “Informal attempt
prerequisite. The inmate or parolee shall attempt to resolve the grievance
informally with the involved staff, unless excepted by sections 3084.5(a)(3) and
3084.7.” While it is recommended that each health care related appeal be
processed at the formal level, this regulation should not require amendment, as the
informal level of appeal is not being eliminated, but elevated in level to ensure
appropriate processing of health care related appeals.
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In 2006/07, health care appeals (medical, dentai, mental health-excluding staff complaints
and ADA) accounted for approximately 23 percent of all appeals processed at the
institutional level through the institutional appeal offices. Therefore, the following is
recommended upon approval and implementation of a statewide HCACPA program:

¢ ‘Transfer the proportional percentage of the institution’s budgeted position authority
from the institutional appeals office to support the establishment of additional health
care appeal positions; and

e Develop a Budget Change Proposal for the remaining positions.

If you have any questions or comments, please contact me at (916) 327-1205.

TL

THERESA KIMURA
Associate Director
Plata Support Operations Section

Attachment

ce: ‘Terry Hill, Chief Executive Officer, Office of the Receiver
Kristina Hector, Staff Attorney, Office of the Receiver
Yulanda Mynhier, Director (A), Plata Field Support Davison _
Wendy Feichter, Health Program Manager II (A), CCLMU
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REQUEST FOR APPROVAL OF ADDITIONAL STAFFING

San Quentin: Approved Disapproved
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® Health Program Specialist I

® Office Technician
Central California Women’s Facility

® Registered Nurse
® Health Program Specialist I

® Office Technician
Mule Creek State Prison

@ Registered Nurse
® Health Program Specialist I

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Pelican Bay State Prison

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@ ATTACHMENT #1
Recommended Staffing and Associated Duties

e Health Program Specialist I (HPSI) to be assigned to the HCACPA program. The
HPS] duties will include, but are not limited to:
a) Coordinate all HCACPA program functions
b) Monitor and cvaluate compliance with current policies and procedure
c) Responsible for overseeing the collection of credible institutional data, the
creation and accuracy of statistical reports (trends, trend analysis,
assessment of risk), and oversight of reports submitted to management
d) Participate in developing and/or revising health care policies, procedures,
and practices as a result of the HCACPA data collection, analysis, and
identification of problem areas. Coordinate with staff to ensure
remediation and improvement of identified issues
e) Assist with the hiring process for HCACPA program positions
f) Responsible for the integrity of the screening process as related to appeals
g) Responsible for identifying problematic issues within the HCACPA
program, creating a Corrective Action Plan (CAP) to remedy problematic
issues, and follow-up to ensure that (CAP) action plan items are completed
timely and appropriately.
@ h) Plan, develop, and implement training relating to the HCACPA program
processes
i) Assist with responding to Second Level Appeals

e Registered Nurse (RN) to be assigned to the HCACPA program. The RN duties
will include, but are not limited to:

a) Review all appeals and correspondences to identify urgent/emergent
health care issues

b) Coordinate with all institutional health care services departments to ensure
patient/prisoners are evaluated by an appropriate clinician within
designated time constraints for urgent/emergent issues

c) Respond to “Emergency” appeals for which an urgent/emergent health
care issue has been identified

d) Review appeals to identify duplicate medical issues

e) Act as a liaison with institutional staff and/or patient/prisoners to resolve
problematic health care issues

f) Provide‘ training to institutional staff on appeal, PAOL, and
correspondence process, as needed

g) Assist with the PAOL when clinical intervention is required

h) Assist with appeal responses, as needed

i) Assist with correspondence responses, as needed

@ « Office Technician (OT) assigned to the HCACPA program. The OT duties
include, but are not limited to:
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a)

Track all correspondences and PAOL contacts in an electronic tracking
system

Ensure the integrity of the electronic tacking system

Assist with researching correspondence and PAOL issues

Assist with providing written responses for correspondences received
Respond to requests from the CCLMU staff, other institutions, or outside
agencies related to correspondence issues

Respond to requests from CCLMU staff related to litigation issues

Assist with the PAOL process, if needed

All clerical functions associated with the HCACPA program (copying,
filing, etc.)
